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                   EXHIBIT 6
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DATE: March 30, 2017

TO: Roku Inc.

    12980 Saratoga Avenue, Suite D

    Saratoga, California 95070

    Attn: Copyright Agent

    E-mail: copyright@roku.com

I declare UNDER PENALTY OF PERJURY that:

1. I am the owner, or an agent authorized to act on behalf of the owner, which owner's
name is

Komanda LLC and NTV America ("IP Owner"), of the following copyrighted work.

Identify, in sufficient detail, the copyrighted work that you claim has been infringed upon,
including providing any registration number or other identification, if available. Attach
applicable documents, if any.

See the following attached documents for information about Komanda LLC’s and
NTV America’s respective copyrighted works:

   •   March 30, 2017 Letter from David Guerrero Liston (the “Letter”)
   •   March 30, 2017 Affidavit from Gregory Moscow (the “Affidavit”)

2. I have a good faith belief that the content described below and being made available
to end users of the Company's products is not authorized by the IP owner, its agent, or
the law, and therefore infringes the IP Owner's rights:

Identify the content that you claim is infringing the copyright identified above.

See the attached Letter and the Affidavit.

Where does the alleged infringing material appear? Please provide sufficient
information to help us locate the content you are reporting.

The infringing materials appear on the Roku channels with the following access
codes:           Redacted            RTVCL.

See the attached Letter and Affidavit for additional information.
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Please describe how the content infringes your or the IP owner's rights (this question
may assist us with processing your claim and eliminate the potential need for follow-up
questions should your notice be unclear).

The content is infringing Komanda LLC’s and NTV America’s respective rights by
distributing their respective copyrighted programming without authorization.

See the attached Letter and Affidavit for additional information.

Identify, if possible, information sufficient to permit the Company to notify the channel
application developer and/or service provider of the allegedly infringing content.

See Schedule 1 in the attached Letter.

3. I acknowledge that this Notice, including my contact information, may be provided to
the channel application developer and/or service provider associated with the alleged
infringing content.

4. I may be contacted as follows:

My Name: David Guerrero Liston, Esq.

My Telephone: (212) 822-0160

Company or Other IP Owner (if different from me):

Lewis Baach pllc Kaufman Middlemiss
The Chrysler Building
405 Lexington Avenue, 62nd Floor
New York, New York 10174

Email: david.liston@lewisbaach.com



Check one of the boxes below.

The information I have provided in this statement is accurate.

I agree: 

I disagree: □

Electronic or Physical Signature:

  /s David Guerrero Liston
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March 30, 2017


VIA EMAIL

Roku, Inc.
Attn: Douglas Weiss, Esq.
Director, Business & Legal Affairs
150 Winchester Circle
Los Gatos, California 95032

       Re:    Notice of Copyright Infringement Through Roku Platform

Dear Mr. Weiss:

         We represent Komanda LLC, (“Komanda”) and NTV America (“NTV America”) (collectively,
the Notifying Parties). We write to notify you of entities that are using Roku, Inc. (“Roku”)’s platform
to distribute Komanda’s and NTV’s content without authorization.

       Komanda is the worldwide copyright holder for certain content that is shown on Russian
language television, including content that is shown on the Russian television network, Channel One.
Among the programs to which Komanda is the copyright holder are the Russian television programs
Davai Pogenimsya (Давай Поженимся), Kontrolnaya Zakupka (Контрольная Закупка), and Modny
Prigovor (Модный Приговор) (the “Komanda Copyrighted Content”).

        NTV America is the exclusive copyright holder in the United States for certain content that is
shown on Russian language television, including content that is shown on the Russian television
network, NTV. Among the programs to which NTV America is the copyright holder in the United
States are the Russian television programs: Ostrosyuzhetnyy serial «Lesnik» (Остросюжетный сериал
«Лесник»), Ulicy Razbityh Fonarej (Улицы Разбитых Фонарей), Serial «Svideteli» (Сериал
«Свидетели»), and Chrezvychaynoye Proisshestviye (Чрезвычайное Происшествие) (the “NTV
Copyrighted Content”).

        Komanda and NTV have launched an investigation to identify parties who are streaming their
respective content without authorization. As a result of that investigation, the Notifying Parties have
identified two entities, as set forth in Schedule 1 to this letter (the “Pirates”) who are distributing,
without authorization, the Komanda Copyrighted Content and the NTV Copyrighted Content.
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       The Pirates are rebroadcasting numerous Russian TV networks, including Channel One and
NTV America on their respective Roku channels. The Pirates distribute the programming through the
Roku platform to a subscriber through the live rebroadcast of the Russian TV networks, the archived
rebroadcast of the Russian TV networks, and/or through a video on demand library.

       Gregory Moscow, an Investigative Analyst at our firm, conducted an investigation that identified
the Pirates. Enclosed with this letter is Mr. Moscow’s affidavit, which includes screenshots that
demonstrate the Pirates’ use of the Roku platform to distribute the Komanda Copyrighted Content and
the NTV Copyrighted Content.

      Komanda has not authorized any of the Pirates, directly or indirectly, to distribute the Komanda
Copyrighted Content in any manner whatsoever, including without limitation, the right to distribute the
Komanda Copyrighted Content through any web streaming platform such as the Roku platform.

      NTV has not authorized any of the Pirates, directly or indirectly, to distribute the NTV
Copyrighted Content in any manner whatsoever, including without limitation, the right to distribute the
NTV Copyrighted Content through any web streaming platform such as the Roku platform.

       As Komanda and NTV did not authorize the Pirates to distribute the content, it is reasonable to
assume that the Pirates are also distributing the content of other rightsholders without their
authorization.

       In light of the evidence that each of the Pirates is streaming the Komanda Copyrighted Content
and the NTV Copyrighted Content without the authorization of Komanda or NTV, we respectfully
request that Roku immediately disable each of the Pirate’s channels on the Roku platform as well as on
any devices or services offered by Roku.

        Please note, upon information and belief, that each of these Pirates is operated by the same
parties responsible for the Roku Channels identified in my March 13 and March 20 DMCA notices.
Specifically, we believe that                              Redacted

                                                            the Roku channel RTVCL is operated by
the same party or parties who operate the Roku channel INVID9. These parties (the “Related Pirates”)
were notified of their infringement by Roku after my March 13 and March 20 DMCA notices, but
nonetheless continued to stream the Komanda Copyrighted Content and the NTV Copyrighted Content.
Indeed, the screenshots attached to Mr. Moscow’s affidavit demonstrate that the Pirates distributed the
Komanda Copyrighted Content and the NTV Copyrighted Content as recently as March 24, 2017, and
they are continuing to distribute the content today.

       Despite being aware of the first two DMCA notices, the Pirates have continued to use “alternate”
channels as a way to continue infringing our clients’ content. Based on this, we respectfully request that
you consider the Pirates identified in this letter, as well the Related Pirates identified above, to be repeat
offenders and that you permanently terminate their accounts.
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       We would appreciate if you provide us with confirmation that Roku has taken the requested
actions to prevent the continued use of Roku’s services to facilitate the Pirates’ infringement of the
Komanda Copyrighted Content and the NTV Copyrighted Content.

       Please do not hesitate to contact me at 212-822-0160 or david.liston@lewisbaach.com if you
have any questions or if there is any additional information we can provide to you.

                                           Respectfully submitted,



                                           David Guerrero Liston

cc:    Alex G. Patchen
       Anthony M. Capozzolo
       Ari J. Jaffess
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                                       Schedule 1

                                       Redacted




           3. RUTV Club
              Roku Channel Access Code - RTVCL
              8171 Yonge St. # 357, Markham, ON, L3T 2C6
              Website - rutvclub.com
              Contact Number - (647) 847-1220
              Email Address - support@rutvclub.com
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                             EXHIBIT 1
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                               Redacted
                                Redacted
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                                  Redacted
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                                Redacted
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                             EXHIBIT 2
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                             EXHIBIT 3
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 March 23, 2017 – Modny Prigovor (Модный Приговор) – Archived Broadcast
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 March 22, 2017 – Kontrolnaya Zakupka (Контрольная Закупка) – Archived Broadcast
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 March 24, 2017 – Chrezvychaynoye Proisshestviye (Чрезвычайное Происшествие) – Live
 Broadcast
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 Comparison of RUTVClub Roku Channel with TVTEKA Roku Channel

 RUTVClub Roku Channel




 TVTEKA Roku Channel (INVID9)
